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AO 91 (Rev. lll'l l) Criminal Complaint

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UNITED STATES DISTRJCT QQURT

United States of Ainerica
v.

Kurt Denton Crouch

 

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On or about the date(s) of

 

Soulhem District of

 

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Southern District of Ohio "
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) Case No. f . 14 § .
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)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
1129/2019 in the county of MOntQOmeW in the
Ohio , the defendant(s) Violated:
O]j‘ense Descriplion

Code Section
18 USC S. 111(3)-(|3)

18 USC S. 924((:)

18 USC S. 922(9)(1)

assault of a federal task force officer with a dangerous or deadly weapon

use, carrying, and discharge of a firearm during and in relation to a crime of
violence

felon in possession of a firearm

This criminal complaint is based on these facts:

See Attached Affidavit of Nicholas A. Graziosi

Ef Continued on the attached sheet.

Sworn to before me and signed in my presence

Date: [___ZC]?'/Q

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Compr'ainmzr’ s signature

Nicholas A. Graziosi, SA of the FBl

 

Prinred name and title

W,W ii

vJudge' s signaru

  

C'liy and grate-5 Daylon, Ohio Sharon L. Ovington, U lstrate Judge

 

Prinfea' mmre and title

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SUPPORTING AFFI`DAVIT

Your Affiant, Nicholas A. Graziosi, being duly sworn, does hereby depose and state as

follows:
INTRODUCTI()N

l. l am a Special Agcnt with the Federal Bureau of lnvestigation (FBI), and have been
so employed since l\/larch of 20l 7. Prior to joining the FBI, l served in the infantry as an enlisted
member in the United States Marine Corps. I attended West Virginia University and graduated
with a bachelor’s degree in criminology and investigationsl Additionally, l attended West Virginia
University College of Law where I graduated with a Juris Doctorate degree l am currently
assigned to the FBl Cincinnati Division » Dayton Resident Agency. Since joining the FBI, l have
received specialized training and experience in the investigation of various offenses set forth under
Tit]e 18 and Title 2l of the United States Code. Based upon my training and experience, I am
aware that it is a violation ofTitle 18, United States Code, Section ll l to forcibly assault, resist,
oppose, impede or interfere with a federal officer while that federal officer is engaged in his/her
official duties. Further, l am aware of federal firearms laws and know that possessing brandishing,
and discharging a firearm during and in relation to any crime of violence is a violation of Title 18,
United States Code, Sections 924(c)(l )(A) and 2.

PU RPOSE OF AFFIDAVIT

2. This affidavit is made in support of an application for a federal arrest warrant and

complaint against Kurt Denton Crouch (hereinatter referred to as “CROUCH”) for:
a. Knowingly and intentionally forcibly assaulted, re sisted, opposed, impeded,

or interfered with a federal task force officer while the task force was engaged in or on account of

the performance of his official duties, and in doing so, used a dangerous and deadly weapon, in

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violation of”fitle 18, U.S.C. Sections ll l(a)-(b).

b. used, carried, and discharged a firearm during and in relation to a crime of
violence for Which the person may be prosecuted in a court of the United States, in violation of
Title 18, U.S.C. Section 924(0);

c. a felon in possession of a firearm that moved in interstate and foreign
commerce, in violation of lS U.S.C., Section 922(g)(l);

3. This affidavit is intended to show only that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

SUMMARY OF PRO`BABLE CAUSE

4. During fall 2018, members of the FBl Safe Streets Task Force, including Task
Force Officer (TFO) Frederick Zollers, Patrick, TFO Pat Craun, and Special Agent Robert
Buzzard, responded to investigate a shots fired incident near a motel in Montgomery County, Ohio
and to determine whether any federal firearm laws had been broken Through the investigation,
TFOs Zollers and Craun apprehended CROUCH in a parking lot near the hotel. `Law enforcement
obtained a search warrant for CROUCH’s room at the motel and discovered inside of it, among
other things, an AK-47 style rifle as well as drugs. On or about December 28, ZOlS, the State of
Ohio indicted CROUCH stemming from this incident, on a variety of charges, including:
weapons under disability (prior crime of violence)_; and carrying a concealed weapon While
initially detained 011 those charges, CROUCH received a bond in that case during mid-January
2019.

5. On January 28, 2019, at approximately l 1:34 p.m., l\/Iontgomery County Sheriff’s
Office (MCSO) deputies were dispatched to 1944 Miamisburg Centerville Road, the Motel Six,

room number 301, in Washington Township, Montgomery County, Ohio reference shots fired

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complaintl l\/lontgomery County Regional Dispatch advised they received a 91 l call from a motel
resident, who advised lie/she was staying in room 305 and heard two gun shots come from room
301. The reporting party also told dispatch the person who stays in room 301 was named Kurt.

6. Upon deputies arriving on scene, Deputy Munn observed a white male, later
identified as CROUCH, exit the room and then run back inside as Deputy Munn attempted to
make contact MCSO deputies set up a perimeter around the motel and room 301 . l\/ICSO deputies
observed suspected bullet holes in the window of room 301.

7. MCSO Detective Gary Ridgeway responded to the scene and spoke with the
reporting party The reporting party told Detective Ridgeway he/she was positive that the shots
came from room 301. Tlie reporting party told Detective Ridgeway he/she knew the male in room
301 as Kurt and he/she had previously conversation with Kuit about Kurt possessing several
firearms including an AK-47. The reporting party told Detective Ridgeway that Kurt had been
drinking heavily and had an argument with his girlfriend Detective Ridgeway reviewed video
footage from the motel and located a picture of the male that the reporting party was identifying
as Kurt. Detective Ridgeway then positivity identified Kurt as CROUCH through the JusticeWeb
database Detective Ridgeway reviewed CROUCH’s criminal history and learned that CROUCH
was currently under indictment (case number 2018CRO4550) through Montgomery County
Common Pleas Court for Having Weapons While Under Disability (Prior offense of Violence),
Carrying Concealed Weapons (Loaded/Ready at Hand), Resisting Arrest and Obstructing Official
Business. Detective Ridgeway drafted a state search warrant for room 301 for violations of
Obstructing Official Business, Having Weapons While Under Disability and lnducing panic_

8. Members of the MCSO Regional Agency Special Weapons and Tactics (SWAT)

Team were activated to respond to the evolving shots fired investigation Additionally, given

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their familiarity with CROUCH and his potential federal weapons violations, FBI Safe Streets
Task Force Officer (TFO) Frederick Zollers and TFO Patrick Cruan responded to the cailout and
provided assistance to the SWAT Team members SWAT Team members began PA
announcements ordering CROUCH to exit room 301. PA announcements along with lights and
sirens from the SWAT armored vehicle continued for the duration of the callout. SWAT Team
members in the observer unit confirmed they observed two buliet holes in the window of room
301.

9. On January 29, 2019, at approximately 4:18 a.m., the search warrant was signed by
the I-lonorable Montgomery County Common Pleas Court Judge Denise Adkins. Following the
search warrant being signed, law enforcement deployed less lethal bean bag rounds into room 301
through the window. Following the bean bag rounds being deployed through the window into
room 301 , law enforcement heard what sounded like a gunshot inside of room 301. Members of
the observer unit advised they saw a flash inside of room 301. TFO Zoliers deployed ferret rounds
while TFO Craun held a ballistic shield and Detective J osh Samples acted as lethal cover. When
TFO Zollers deployed one ferret round into room 301 through the window, he and other law
enforcement officers immediately heard three guns shots come from room 301. TFO Zollers,
TFO Craun and Detective Samples took cover behind the armored vehicle TFO Zollers and
SWAT Tearn members observed three additional bullet holes in one of the window panes. The
three bullet holes were concentrated in tight group and directed in the area of where TFO Zollers,
TFO Craun and Detective Samples were standing when TFO Zollers deployed the ferret rounds

lO. Law enforcement continued PA announcements ordering CROUCH to exit room
301. CROUCH ignored commands to exit room 301 and SWAT Team members continued to

deploy gas munitions into room 301. At approximately 8:04 a.ni.1 CROUCH was taken into

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custody and SWAT Team member’s secured room 301 . No other individuals were located in room
301.

1 l. Pursuant to the search warrant, law enforcement conducted a search of room 301.
.Investigators located a Bushmaster semi-automatic rifle (serial number BFH020572) on the
bathroom floor. Additionally, investigators located two loaded rifle magazines and a loaded 9mm
Glock magazine Investigators located several spent rifle casings in the room, consistent with
CROUCH discharging a firearm.

12. TFO Zollers contacted ATF S_pecial Agent Ken Pitney and learned that the
Bushrnaster semi-automatic is manufactured outside the State of Ohio, thus moved in interstate
commerce

13. 1 have also reviewed a criminal history report for CROUCH as well as the website
for Lake County7 Florida, Clerk of`Court. Both of these documents indicate that CROUCH was
convicted in 2006 of aggravated assault with a deadly weapon, a felony that carries a term of

imprisonment exceeding one year.

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MQ§M
14. Based on the above information provided herein, your Aft`iant believes that

probable cause to issue a criminal complaint against, and an arrest warrant for, KURT DENTON

CROUCH.

N'icHoLAs A. oRAziosr
Special Agent
F ederal Bureau of Investigation

Subscribed and sworn to before me
this zjf¢_,¢] day ofJanuary, 2019.

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